          Case 2:18-cv-08211-AB-SK Document 2 Filed 09/21/18 Page 1 of 1 Page ID #:19
  NAh1E, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEYS)
  OR OF P.~RTY APPE~IRTNG IN PRO PER
                                                                                                    ~' f~~~.l
    Carl Walker
    29416 Malibu View Ct.
    Agoura Hills, CA 91301
   (818)431-1166                                                                        1~18 SEP 2I PM ~~ I S

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  ATTORNEYS)FOR:       111 pro Se                                  a~.
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE \UnIBER~,
JPMorgan Chase Bank, National Association,

                                                                                    ~~ W 18-8211 - cis ~s~>
its assignees and/or successors,
                                                              Plainfiff(s),
                                     v.


                                                                                               CERTIFICATION AND NOTICE
Steven Godwin, Carl Walker, and Does 1-10, inclusive,
                                                                                                 OF INTERESTED PARTIES
                                                             Defendants)                             (Local Rule 7.1-1)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Carl Walker
or party appearing in pro per, certifies that the o lowing liste party (or parties) may ave a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                    CONNECTION /INTEREST

            Matthew E. Podmenik, Esq.                                                   Attorney for Plaintiff
            McCarthy & Holthus, LLP
            1770 Fourth Avenue
            San Diego, CA 92101

            JPMorgan Chase Bank                                                         Plainriff
            270 Park Avenue
            New York, New York 10017




         09/12/2018
         Date                                              Signature Carl Walker



                                                           Attorney of record for (or name of party appearing in pro per):

                                                            Carl Walker in pro se



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
